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Counsel for Plaintiff

                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

    CORY HANLEY,                                   Case No: 1:21-cv-04757-DG-TAM

         Plaintiff,
                                                   NOTICE OF VOLUNTARY DISMISSAL
         v.                                        PURSUANT TO FED. R. CIV. P.
                                                   41(a)(1)(A)(i)
    STRONGBRIDGE BIOPHARMA PLC,
    JOHN H. JOHNSON, DAVID GILL,
    GARHENG KONG, JEFFREY W.
    SHERMAN, MARTEN STEEN, and
    HILDE H. STEINEGER,

         Defendants.


       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

Civil Procedure, Plaintiff Cory Hanley hereby voluntarily dismisses the above-captioned action.

Defendants have not served an answer or a motion for summary judgment.



Dated: September 23, 2021                          Respectfully submitted,

                                                   HALPER SADEH LLP

                                                   By: /s/ Daniel Sadeh
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                                         Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

        I, Daniel Sadeh, hereby certify that on September 23, 2021, a true and correct copy of the
annexed NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P.
41(a)(1)(A)(i) was served in accordance with the Federal Rules of Civil Procedure with the Clerk
of the Court using the CM/ECF system, which will send a notification of such filing to all parties
with an email address of record who have appeared and consented to electronic service in this
action.


Dated: September 23, 2021                           /s/ Daniel Sadeh
                                                    Daniel Sadeh




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